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Memorandum

Suhjcel: I)ale; z

limited Siates v. 'l`odd Christian lwlarnnan November IS, 2015 .,.Z.,§

SA CR 15-63§B;-.lLS .~_‘l
E““»"§

"l"o; From: ij

KIRY K. GRAY ANNE C. GANNON _

Acting Clerl<, Uni£ed States District Court Assislant United States Atlorney

Central i)isiriet ol"Calil"omia Cri.minal Division

For purposes ofde€errnining whether the above-referenced matter, being filed on
Noveniber lS, 2015:

(H)

(b)

Should be assigned lo the l'lonoral)le André Biro£te Jr., it

§ is
[W is not

a matter that was pending in the Uniled States Attorney’s Ol’lice (USAO) on or before
August 8, 2014, the dale the l’lonorable André Birotte Jr. resigned from his position as the
limited States Altorney l`or the Centra§ District oli`Califomia.

shonid be assigned to the Honorabfe Michael W. Fitzgerald, ii
§ is
§§ is not

(,l) a matter that was pending in the 'l"errorism and Expoa'£ Crimes Seciion in the USAO’S
Nationai Security Division on or before August 3, 2015; (2) a matter pending in the
USAO"s National Seeurity Section in the USAO’s Criminal Divi.sion on or before Augusi
3, 2015, or a matter in Whieh the National Seeurity Seclion was previously involved; or
(3) a maiter in which current F`il'st Assistant Uniled States Atlorney Patrick R. Fitzgerald

is or has been personally involved or on Which he has personally consulted while

employed in the USAO.
imm C` /`--»

ANNE C. GANI\‘\(Yl\
Assistani Unilied\qi\ Siates Attorney

 

